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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA


      vs.                                         2:20-cr-030
                                                  JUDGE JAMES L. GRAHAM

RADOSLAV P. BOEV

                          REPORT AND RECOMMENDATION

      Defendant Radoslav P. Boev previously pleaded not guilty to an
Indictment charging him with conspiracy to possess with intent to
distribute a mixture or substance containing a detectable amount of
GHB in violation of 21 U.S.C. Section 846. Indictment, ECF No. 8. The
United States and defendant thereafter entered into a plea agreement,
executed pursuant to the provisions of Rule 11(c)(1)(A) of the Federal
Rules of Criminal Procedure, whereby defendant agreed to enter a plea
of guilty to that charge. 1    On March 17, 2021, defendant, assisted by
his counsel, participated in a change of plea proceeding.
      After being advised of his right to appear personally and with
his counsel and after consulting with his counsel, defendant consented
to appear by videoconference.
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.        See United States v. Cukaj, 25
Fed.Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).
      During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.

      1 In the Plea Agreement, ECF No. 32, defendant, a citizen of Bulgaria,
acknowledged the likely immigration consequences of his guilty plea. The Plea
Agreement also includes an appellate waiver provision that preserves only
certain claims for appeal or collateral challenge.


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Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
        Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.    Based on the observations of the undersigned, defendant
understands the nature and meaning of the charge in the Indictment and
the consequences of his plea of guilty to that charge.          Defendant was
also addressed personally and in open court and advised of each of the
rights referred to in Rule 11 of the Federal Rules of Criminal
Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on March 9, 2021, represents the only
promises made by anyone regarding the charge in the Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the District Judge refuses to accept
any provision of the plea agreement not binding on the Court,
defendant may nevertheless not withdraw his guilty plea.
        Defendant confirmed the accuracy of the statement of facts
supporting the charges, which is attached to the Plea Agreement.           He
confirmed that he is pleading guilty to Count 1 of the Indictment
because he is in fact guilty of that offense.        The Court concludes
that there is a factual basis for the plea.
        The Court concludes that defendant’s plea of guilty to Count 1 of
the Indictment is knowingly and voluntarily made with understanding of
the nature and meaning of the charge and of the consequences of the
plea.
        It is therefore RECOMMENDED that defendant’s guilty plea to Count
1 of the Indictment be accepted.      Decision on acceptance or rejection
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of the plea agreement was deferred for consideration by the District
Judge after the preparation of a presentence investigation report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.        Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.           28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.    F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




March 17, 2021                                  s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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